                 Case 2:18-cr-00891-DMG Document 89 Filed 10/16/20 Page 1 of 5 Page ID #:687
                                                        United States District Court                                           JS-3
                                                        Central District of California


UNITED STATES OF AMERICA vs.                                                Docket No.             CR 18-891-DMG

Defendant          ROBIN DIMAGGIO                                           Social Security No. 7           4     0     7

akas: Robin Christian DiMaggio (full name)                                  (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH   DAY   YEAR
             In the presence of the attorney for the government, the defendant appeared in person on this date.       OCT     14    2020


 COUNSEL                                                                 Erin M. Murphy, DFPD
                                                                             (Name of Counsel)

     PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO               NOT
                                                                                                                CONTENDERE           GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Wire Fraud in violation of Title 18 U.S.C. § 1343 as charged in Count 1 Indictment.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER   the custody of the Bureau of Prisons to be imprisoned for a term of: TWENTY-SEVEN (27) MONTHS.


        It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately. Any unpaid
balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons’
Inmate Financial Responsibility Program.

       The Court defers ruling on the amount of restitution to be paid by the defendant to allow for further briefing and shall amend the
judgment and commitment order once the amount of restitution is determined.

         The defendant shall comply with Amended General Order No. 20-04.

         Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant does not have the ability to pay a fine in
addition to restitution.

        The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide all necessary
treatment.

Upon release from imprisonment, the defendant shall be placed on supervised release for a period of THREE (3) YEARS under the following
terms and conditions:

        1.     The defendant shall comply with the rules and regulations of the United States Probation and Pretrial Services Office and
               Amended General Order 20-04.

        2.     During the period of community supervision, the defendant shall pay the special assessment and restitution in accordance with this
               judgment’s orders pertaining to such payment.

        3.     Immediately following release from imprisonment, the defendant shall participate for a period of TWELVE (12) MONTHS in a
               home detention program which may include electronic monitoring, GPS, Alcohol Monitoring Unit or automated identification
               system and shall observe all rules of such program, as directed by the Probation Officer.

        4.     The defendant shall pay the costs of home confinement monitoring to the contract vendor, not to exceed the sum of $12 for each
               day of participation. The defendant shall provide payment and proof of payment as directed by the Probation Officer. If the

CR-104 (docx 10/15)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                                Page 1 of 5
               Case 2:18-cr-00891-DMG Document 89 Filed 10/16/20 Page 2 of 5 Page ID #:688

USA vs.      ROBIN DIMAGGIO                                                   Docket No.:     CR 18-891-DMG

             defendant has no ability to pay, no payment shall be required.

        5.   The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
             days of release from custody and at least two periodic drug tests thereafter, not to exceed eight tests per month, as directed by the
             Probation Officer.

        6.   Defendant shall not engage in the solicitation or acceptance of funds from or on behalf of investors or promoters in connection
             with the production of musical or other entertainment events. Further, the defendant shall provide the Probation Officer with
             access to any and all business records, client lists, and other records pertaining to the operation of any business owned, in whole or
             in part, by the defendant that are in the defendant’s possession as directed by the Probation Officer.

        7.   The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance, judgments, and any
             anticipated or unexpected financial gains to the outstanding Court-ordered financial obligation.

        8.   The defendant shall participate in mental health treatment, which may include evaluation and counseling, until discharged from the
             program by the treatment provider, with the approval of the Probation Officer.

        9.   As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered treatment to the aftercare
             contractors during the period of community supervision. The defendant shall provide payment and proof of payment as directed
             by the Probation Officer. If the defendant has no ability to pay, no payment shall be required.

        10. The defendant shall cooperate in the collection of a DNA sample from the defendant.

        The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental health evaluations or reports, to
the treatment provider. The treatment provider may provide information (excluding the Presentence Report), to State or local social service
agencies (such as the State of California, Department of Social Services), for the purpose of the client's rehabilitation.

        It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons at or before 12 noon, on
May 21, 2021. In the absence of such designation, the defendant shall report on or before the same date and time, to the United States Marshal
located at the Roybal Federal Building, 255 East Temple Street, Los Angeles, California 90012.

          The bond will be exonerated upon surrender.

          The Court dismisses all remaining counts of the underlying indictment.

          The Court recommends that the defendant be assigned to a federal correctional facility in the Southern California area.

          The Court informs the defendant of his right to appeal.




CR-104 (docx 10/18)                             JUDGMENT & PROBATION/COMMITMENT ORDER                                                    Page 2 of 5
               Case 2:18-cr-00891-DMG Document 89 Filed 10/16/20 Page 3 of 5 Page ID #:689

USA vs.     ROBIN DIMAGGIO                                                            Docket No.:     CR 18-891-DMG


In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.




           October 16, 2020
           Date                                                         Dolly M. Gee, United States District Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                        Clerk, U.S. District Court




           October 16, 2020                                      By     /s/ Kane Tien
           Filed Date                                                   Deputy Clerk



The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                              STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                              While the defendant is on probation or supervised release pursuant to this judgment:
1.   The defendant must not commit another federal, state, or local              9.     The defendant must not knowingly associate with any persons
     crime;                                                                             engaged in criminal activity and must not knowingly associate with
2.   The defendant must report to the probation office in the federal                   any person convicted of a felony unless granted permission to do so
     judicial district of residence within 72 hours of imposition of a                  by the probation officer. This condition will not apply to intimate
     sentence of probation or release from imprisonment, unless                         family members, unless the court has completed an individualized
     otherwise directed by the probation officer;                                       review and has determined that the restriction is necessary for
3.   The defendant must report to the probation office as instructed by                 protection of the community or rehabilitation;
     the court or probation officer;                                             10.    The defendant must refrain from excessive use of alcohol and must
4.   The defendant must not knowingly leave the judicial district                       not purchase, possess, use, distribute, or administer any narcotic or
     without first receiving the permission of the court or probation                   other controlled substance, or any paraphernalia related to such
     officer;                                                                           substances, except as prescribed by a physician;
5.   The defendant must answer truthfully the inquiries of the probation         11.    The defendant must notify the probation officer within 72 hours of
     officer, unless legitimately asserting his or her Fifth Amendment                  being arrested or questioned by a law enforcement officer;
     right against self-incrimination as to new criminal conduct;                12.    For felony cases, the defendant must not possess a firearm,
6.   The defendant must reside at a location approved by the probation                  ammunition, destructive device, or any other dangerous weapon;
     officer and must notify the probation officer at least 10 days before       13.    The defendant must not act or enter into any agreement with a law
     any anticipated change or within 72 hours of an unanticipated                      enforcement agency to act as an informant or source without the
     change in residence or persons living in defendant’s residence;                    permission of the court;
7.   The defendant must permit the probation officer to contact him or           14.    As directed by the probation officer, the defendant must notify
     her at any time at home or elsewhere and must permit confiscation                  specific persons and organizations of specific risks posed by the
     of any contraband prohibited by law or the terms of supervision                    defendant to those persons and organizations and must permit the
     and observed in plain view by the probation officer;                               probation officer to confirm the defendant’s compliance with such
8.   The defendant must work at a lawful occupation unless excused by                   requirement and to make such notifications;
     the probation officer for schooling, training, or other acceptable          15.    The defendant must follow the instructions of the probation officer
     reasons and must notify the probation officer at least ten days                    to implement the orders of the court, afford adequate deterrence
     before any change in employment or within 72 hours of an                           from criminal conduct, protect the public from further crimes of the
     unanticipated change;                                                              defendant; and provide the defendant with needed educational or
                                                                                        vocational training, medical care, or other correctional treatment in
                                                                                        the most effective manner.




CR-104 (docx 10/18)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                                             Page 3 of 5
               Case 2:18-cr-00891-DMG Document 89 Filed 10/16/20 Page 4 of 5 Page ID #:690

USA vs.     ROBIN DIMAGGIO                                                       Docket No.:     CR 18-891-DMG



 X The defendant will also comply with the following special conditions (set forth below).

          STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be
subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
applicable for offenses completed before April 24, 1996.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

         The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18
U.S.C. § 3563(a)(7).

          Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

          CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

         As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

         The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts,
including any business accounts, must be disclosed to the Probation Officer upon request.

        The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (docx 10/18)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                                    Page 4 of 5
               Case 2:18-cr-00891-DMG Document 89 Filed 10/16/20 Page 5 of 5 Page ID #:691

USA vs.     ROBIN DIMAGGIO                                                     Docket No.:        CR 18-891-DMG



                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                      to
Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on                                                                    to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                    United States Marshal


                                                             By
           Date                                                     Deputy Marshal




                                                                CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.
                                                                    Clerk, U.S. District Court


                                                             By
           Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



          (Signed)
                      Defendant                                                                  Date




                      U. S. Probation Officer/Designated Witness                                 Date




CR-104 (docx 10/18)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 5 of 5
